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                             MICHAEL HARDING v. UNITED STATES OF AMERICA
                                 18-CV-14359-ROSENBERG/MATTHEWMAN
                                         2255 HEARING EXHIBITS

PRESIDING JUDGE                                  ASSISTANT UNITED STATES ATTORNEYS        DEFENDANT’S ATTORNEY
Hon. William Matthewman                          Daniel E. Funk                           C. White / M. Montaner
HEARING DATES                                    COURT REPORTER                           COURTROOM DEPUTY
July 27 and July 28, 2021                        Audio Recorded                           Kenneth Zuniga

            DEF.    DATE
PLF. NO.    NO.    OFFERED   MARKED   ADMITTED                     DESCRIPTION OF EXHIBITS* AND WITNESSES

   1               7/27/21     X         X       Draft Presentence Investigation Report (CrDE: 82)
   2               7/27/21     X         X       Defendant’s Objections to the Presentence Report (CrDE: 86)
   3               7/27/21     X         X       Presentence Investigation Report and Addendum (CrDE: 87)
   4               7/27/21     X         X       Defendant’s Motion for Downward Variance (CrDE: 92)
   5               7/27/21     X         X       Defendant’s Amended Objections to the Presentence Report (CrDE: 95)
   6               7/27/21     X         X       Transcript of Calendar Call (2/17/16) (CrDE: 126)
   7               7/27/21     X         X       Transcript of Status Conference (2/19/16) (CrDE: 127)
   8               7/27/21     X         X       Transcript of Plea (2/22/16) (CrDE: 128)
   9               7/27/21     X         X       Transcript of Sentencing (Volume 1) (5/16/16) (CrDE: 129)
  10               7/27/21     X         X       Transcript of Sentencing (Volume 2) (5/23/16) (CrDE: 130)
  11               7/27/21     X         X       Attorney Notes of Fletcher Peacock
  12               7/27/21     X         X       Attorney Letters to Defendant from Fletcher Peacock
  13               7/27/21     X         X       LG D800 Extraction Report (talk.kik.com)
  14               7/27/21     X         X       LG D800 Extraction Report (messages)
  15               7/27/21     X         X       Photograph of Cellphone Chats

                                                 DVD containing CP images & videos extracted from electronic devices presented
  16
                   7/28/21     X         X       at sentencing hearing on 5/23/2016




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